TAO Td AONASAUd S. LNVGNaIAC JO WAAIVM YO/ANV JONTVIANOO OINOHATTAL/OAAIA OL LNASNOO (07/90) 670-AD

 

[atqeorydde jr ypayD] uonezioyny sjuepusyeq
IM, sunoD Aq JUepuajaq J
TPM JUEpUjeq] JOJ PosuNOD Aq JWepusjoc] JOF poust yuepu2yaq] are

SAITO AY b
(V'ZE ‘d WD -Y peg) s8uTpass01g UOTFRIOAay aseapy postredng pue uoneqorg []
((2)(Q)€F ‘d WHO Y Pas) ssuPUEIHIg pu svafq JouvouTepsI [_]
(8FT€ ‘29S ‘O'S’ 8) sBuIpsar0rg UOHEOOAIY aseapy feMerg [_]
OF d WUD Y ‘Pad Jepun saouereeddy [_] (I'g ‘a ‘UNID -Y (pag) Bupeay Areurunperg
((q)Z ‘d “WH “Y "Pad) JUSUTOTpUT Jo Joate
:(sdut

(ZFIE 22S O'S’ 8T) (s)BuLIeaT UONLIepisuocey/MatAgy [reg/uonuajeq [_]

 
 

04d fo sad&q sayjo 4v aouasaad sjuvpuafap ayy aatvm 0} S¢-YD uso] asn pun) sarjddv yyy Yyova YoaYD

<MOTEq SsUTpeed0I1d ayy ye BdUaIEFUOD sTUO Yaya} Aq Io soUAaIayUOD CaplA Aq JO Mod Uedo ut Uosied ut yUaserd
aq 03 yy8tr Aur oaTem Apireyunjoa pure APsutMouy J ‘JasuNod WIM uoHRyNsuoo Jayy ‘aouerayuos stuoydaye} Aq Jo ‘souarayuos cepts Aq
‘uosiad ut - s8utpses0id payst]-mojaq au} Jo Te ye Wosaid 9q 0} JS oy} sur aard AvUT saynjqeys [eopey 2IOW JO aU JO/pue ‘amMpac0lg

[eUTUNID Jo sey Texapag a~P ‘WoRNINsMOD *s'f) ay Je puryszepun + Depp) VA7e[7/ 1
nuUISIIg S$ JUepusjod jo IOATV AA °C

 

(Z¢ “A WD UY ped) s8uPpueyeg Auojy [_] (IE ‘d WD Y pad) seatg Auopag [_]

‘utsof s1yj fo Z a8vd uo uonjIas , ssurpu1y pasodo.sg,, ay}
ajajduoo osjp ysnus nok ‘mojaq paqsy sSurpaacosd omy ayy fo auo jv aouasafuod 21u0ydajay 40 oapta hq aouvavaddD uv 04 JUaSUOd 0} :2J0N,

(TZ *d WUD UY peg) s8uIpeedoig UoHLooAay asvafay pestaiadng pue uoneqorg [_]

OF ‘d WHO Y ‘pay Jopun saouereaddy (_] ((Z)(Q) eh ‘A THUD Y peg) sButouazuag pure seayg Jouvatepstyy [_]
((qQ)Z ‘d THD “Y ‘pad) Wourotpuy ake: (8FIE 29S ‘O'S. 81) SBUTpead0Ig UOPIOAaY aseafay [eer [_]
(OL ‘d WHO Y ‘pag) justTUBresry [_] (1'¢ ‘d WHO Y ped) Suueay Areurunyarg []

(gd WD Y Ped) aa (ZhIE 22S O'S'N 81) (s)BuITea}] UOHeIepIsuoDeY/MalAry [eg /aonuayeq []
:sa1jddv 1py} yova yDaYD

 

:gouarazuos stuoydayay Aq ‘a[qepreae A[qeuoseal jOU St IUaIOFMOD OAPIA JI ‘IO IDUSTOFUOD OapIA
4q acvyd Zunzey peaysut mojaq s8uTpeasoid ay} 03 yuasuod ATLeyUNJoa pue ABuLMouy | ‘PesuNos YIM WoReyNsuOS Jayy “jN0s uado
ut wosiad ut adeid aye} s8utpeacoid poeyst]-mojaq uy [fe aaey 03 JYSLI ayy OUT AIS AUT SoyNyWeIs [eopaj 2IOUI IO dUO JO/pue ‘aMps2001g

 

[EUTUNLID Jo sony JeJapa,y ayy ‘WONNIsUOD “SA, ey} Jet pueysiapun « “D —y /2 YY) yo 70 iv/ 2
adUaIayWOD MUoYdat— | /29UaIZJUOZ OOP! A 0} JWasuOD *T

AONASHad S.LINVONASAC JO aaAIV bs] AONTYAINOO OINOHdSaTE.L/JONAIWAINOO OACIA OL LNASNOO [J
:saydd yoy yova y2ayD

 

dAdUdO/SONIGNIA GAsodoud aNvV LJ

(S\INVONETIG gp we D/O ia
AONASAUd S,LNVONAIAC JO WAAIVM YO/ANV 6 ? / 2») 5. ? /
AONAYTANOO OINOHdATAL/OAGIA OL LNASNOO

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YaaWAN aSVO

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SSTUAAV 22 AWVN

 

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VOMAWY AO SALV.LS GALINA

 

 

 
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tAOT'd AONASAAd S.LNVGNAIAC JO UTATVM YO/ANV FJONTWAAINOO OINOHdATALL/OAAIA OL LNISNOO (0Z/90) 6Z0-UD

a8pn{ LIST sayeIg pay, aed

‘AAOQK YO} Jas SMOsvaI ay} Joy ‘soNsNf Jo sysarazUT ay} 0} WAY snoLas NOTPIM pedejap JoyLMY aq JouULd ase> sty) UT

(Z¢ “A WUD Y pad) Sutsuajuag Auopay [J (IT ‘d WUD Y pag) etd Auopag [_]

coup yet puy Aqazey
] ((s8urpeasorg euTUNTID uTeyED UI aUeIayUOD sTUOYdeTa], pue oepr, Jo asp, AoUaSs19UNY DTqNg sMITAOUOIOD :2y Ul) €0-07 “ON
aBpn{ Jory ap JO J9pIO JOZ § pu DV (,SAUVO,) AlMdag sTUOUODY pur Jarjay Pry sNILAvUOIOD ay} Jo (Z)(4)ZOOST § 0} JUENsINg

SulsuayWa¢ Jo vatg Auoya,y Jo Aejag Joy, Jo wep Zurpsessy sZurpury Zundopy 19pi1oO ‘fF

 

 

 

 

“BULMOYS sTq}

ayeuUr 0} JUaTDyINs ssurpuy pesodoid Mojaq YO} Jas Jsnwa yUepuayep oy “Noo uado ur UoOsied UI Jo peaysUT ‘soUeIEFUOD STUOYdeTe}

Aq ‘aT qereae A[qeuosval j0U SI <9UaIBJUOD CEPA JI ‘IO 9dUaIasUOD oapta Aq adeId Zune} ZuIdUayuas Io vayd AMO; & 0} JUasTIOD

0} spudzut yUepUezep ou JT ‘A[SUTpPIOIOYV_,"ao1snl Jo s}sata}UT-oy} 0} UNTeY sNolIes NOWIM pedejap JayINy aq jouues, ZuIDUayuas IO
vayd ouy yey} ssurpuy oytoeds sayeur oS8pn{ 94} ssapun yoo uado ut Uosied Ut UeY} Jey po}oNpUOd aq JoUTILD sBUTDUA}UIAs pur seayd
Aue} ‘(s8urpeacol g [RUTUTID UTeyaD UI eUaIayUOD STuoYdaya], pue capt, Jo esq AouaSr9UNY I[Qng sMITAOUOIOD ‘ay UI) €0-07 “ON
aspn{ Jory ep Jo Japso Jo Z § pue DY (,SAUVO,) ANdeg STUIOUOD pure JarpPy ‘Pry sMITAeUOIOD amp Jo (Z)(q)ZOOST § 03 JUeNsmMg

Sutouayuas 10 vayg Auoya, Jo Avjaq Joy, Jo uLIepy SutpreBoy sSurpury pesodorzg -¢

juepusyaq Joy eaten / / aq
SSS See 7717 8

‘(S)JaATeM/JUISMOS YONs WIM IM9UOd | pure ‘AreyMyjoa pure ZuImouyY aie (s)JeaTeM/JUasMOd $s JUepUazog
ay} Jey) pue syyZrII Yons spurjsropuN yULpUazaq] aU} Je} PAaTpoq J *(S)JOATeM/JUasTOD s JURPUajaq st} pur syyBII Yons Zurpseser

yUepuaszaq 9Y} YIM paynsuoo pur syyBrI paouarajal-aaoge s juepuajoq ay} Jo yuepuayaq] ay} pastape ATTY | JTeyoq szyuepuayagq
ayy Uo yWaUINdOp sy} UBIs 0} aU BUIZLIOYNe Jo JFUSUMIOp sty} BUTUBIS JFUepUesaq] ey} 0} JOG “Ulasay JUepUayaq] ay} Joy JasuNos ure |

 

 

 

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UBIM JULpUJaq] JOJ JasuNoD Aq 193aI1d193U] Joy pousts
(poeambox jt) 10301193 UT aeq

 

 

 

‘aBenZur] dU} Ul JURPUazaq] ay} 0} JoATeM/JUAsUOD sTy} payefsued aaey |
